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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                              Bankruptcy Judge Elizabeth E. Brown


   In re:                                              Case No. 20-12377 EEB
                                                       Chapter 11
   Sklar Exploration Company, LLC,
   Debtor.


   In re:                                              Case No. 20-12380 EEB
                                                       Chapter 11
   Sklarco, LLC,
   Debtor.

                                                       Joint Administered Under
                                                       Case No. 20-12377 EEB




                                                 ORDER

            CONSIDERING the Ex Parte Motion for Examination of Debtors (the “2004 Motion”)

  filed by JF Howell Interests, LP, the record of the case, and pursuant to Federal Rule of Bankruptcy

  Procedure 2004 and Local Bankruptcy Rule 2004-1, and having found good and just cause shown

  for the relief requested in the 2004 Motion;

            IT IS ORDERED that the 2004 Motion be and hereby is GRANTED.

            IT IS FURTHER ORDERED that JF Howell Interests, LP is authorized to serve the

  requests identified on Exhibit A to the 2004 Motion pursuant to Federal Rule of Bankruptcy

  Procedure 2004 and Local Rule of Bankruptcy Procedure 2004-1 and that Debtors are ordered to

  comply with the same no later than October 20, 2020.

            IT IS FURTHER ORDERED that Howell Interests is authorized to examine Debtors

  Pursuant to Federal Rule of Bankruptcy Procedure 2004 and Local Rule of Bankruptcy Procedure

  2004-1 with respect to the documents identified on Exhibit A to the Rule 2004 Motion and issues


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  raised therein, and related to this case at a date no earlier than seven (7) days from the date of

  production of documents.

          IT IS FURTHER ORDERED that the examination of Debtors occur simultaneously with

  the examination by the Unsecured Creditors Committee at which examination JF Howell Interests,

  LP shall be entitled to fully participate.


          Dated this      day of October, 2020.

                                                      BY THE COURT:




                                                          Elizabeth E. Brown
                                                          United States Bankruptcy Judge




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